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UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF MASSACHUSETTS

VOLUME IT

re X MDL NO. 1456

IN RE: PHARMACEUTICAL INDUSTRY : CIVIL ACTION:

AVERAGE WHOLESALE PRICE LITIGATION : 01-CV-12257-PBS

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THIS DOCUMENT RELATES TO:

U.S. ex rel. Ven-A-Care of the : CIVIL ACTION:
Florida Keys, Inc. v. Abbott : 06-CV-11337-PBS
Laboratories, Inc.

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IN THE CIRCUIT COURT OF

MONTGOMERY COUNTY, ALABAMA

wee eee eee ee ee X

STATE OF ALABAMA, : CASE NO.
Plaintiff, : CV-05-219

Vv.

ABBOTT LABORATORIES, INC., : JUDGE

et al., : CHARLES PRICE
Defendants.

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THE WITNESS: I -- I don't recall any
discussions about the difficulty in -- in
implementing estimated acquisition costs.

BY MR. TORBORG:

Q. Do you believe that your reports on
Albuterol Sulfate, starting with this one, 2000,
provided accurate information regarding what
providers were paying for Albuterol Sulfate?

MR. NEAL: Objection as to form.

You can answer.

THE WITNESS: I think that the reports
provided examples of other prices that were
available in the marketplace.

BY MR. TORBORG:

Q. Do you believe your 1997 report that we
talked about yesterday with the 22 drugs -- do you
recall that?

A. Yes.

Q. That was the one where you found prices
available in catalogs that were provided by
Ven-A-Care. Did you believe those provided

reliable information regarding how much physicians

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could purchase drugs for?

MR. NEAL: Objection as to form.

THE WITNESS: I believe that the
information presented in the catalogs was reliable,
yes.

BY MR. TORBORG:

Q. When you circulated -- when you
circulated your reports at OIG to state Medicaid
programs -- have you done that on occasion?

MR. WINGET-HERNANDEZ: Objection; form.

MR. NEAL: Objection as to form.

THE WITNESS: I don't recall doing that.
I may have for one or two reports.

BY MR. TORBORG:

Q. -- did you expect that the state
Medicaid programs would take into consideration the
findings in your report?

MR. WINGET-HERNANDEZ: Objection to form.

MR. NEAL: Objection as to form.

THE WITNESS: I expected they may read
it. I didn't know whether I expected them to

change anything or not.

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